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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                     )
                                              )
               Plaintiff,                     )       INTERSTATE AGREEMENT ON
                                              )       DETAINERS ORDER
       vs.                                    )
                                              )       Case No.: 1:18-cr-034
Jeremy Kaul,                                  )
                                              )
               Defendant.                     )


       On June 1, 2018, defendant made his initial appearance and was arraigned in the above-

entitled action. SAUSA Dawn Deitz appeared on the Government’s behalf. Attorney Thomas Glass

was appointed to represent defendant in ths matter and appeared on defendant’s behalf.

       Prior to his initial appearance, defendant was incarcerated by the State of North Dakota at

the North Dakota State Penitentiary (“NDSP”) in Bismarck, North Dakota. After the Superseding

Indictment in this case was returned and an arrest warrant issued, a detainer was filed by the United

States with the North Dakota prison officials. Pursuant to the Interstate Agreement on Detainers Act

(“IADA”), defendant’s appearance before this court for his initial appearance and arraignment was

secured by a writ of habeas corpus ad prosequendum.

       At his initial appearance and arraignment, defendant was advised of his rights under the

IADA to continued federal custody until the charges set forth in the Indictment are adjudicated.

Thereafter, defendant waived the anti-shuttling provisions of the IADA and requested to be returned

to state custody.

       Based on defendant’s waiver, the court finds that knowingly, voluntarily, and upon advice

of counsel waived the anti-shuttling provisions of the IADA and in open court and agreed to return


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to the custody of the State of North Dakota (the “sending state” under the IADA) at the NDSP

pending further proceedings in this case initiated by the United States (the “receiving state” under

the IADA)..

       Accordingly, the court ORDERS that defendant be housed in the “sending state” under the

IADA pending further proceedings or until further order of the court. Further, pursuant to

defendant’s waiver, the return of the defendant to his place of incarceration pending trial shall not

be grounds under the IADA for dismissal of the charges set forth in the Indictment.

       Dated this 1st day of June, 2018.


                                              /s/ Charles S. Miller, Jr.
                                              Charles S. Miller, Jr., Magistrate Judge
                                              United States District Court




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